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                                                          U. S. DISTRICT COURT
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                                                                    in 0111g.
                 IN THE UNITED STATES DISTRICT COURT
                    THE SOUTHERN DISTRICT OF GEORGIA
                                                                         Ax
                            SAVANNAH DIVISION

KENNETH R7ON SANDERS,

       Plaintiff,

V.                                          CASE NOS. CV409-197
                                                      CR4 95-123
UNITED STATES OF AMERICA,

       Defendant.


                                 ORDER

       Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 2), to which no objections have been filed.

After a careful de riovo review of the record, the Report and

Recommendation is ADOPTED as the Court's Opinion in this case.

Accordingly, Plaintiff's 28 U.S.C. § 2255 Motion is DENIED AS

SUCCESSIVE.' The Clerk of Court is DIRECTED to close this case.

       SO ORDERED this
                         /5 day of April, 2010.


                       WILLIAM T. MOORE, JR., k1fiIEF JUDGE
                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA

1 This Court, yet again, informs Defendant that if he wishes to have
his sentence recalculated due to the Georgia Supreme Court vacating
two of his state convictions, he must first file an "Application
for Leave to File a Second or Successive Habeas Corpus Petition"
with the Eleventh Circuit Court of Appeals, using the form provided
by the Clerk of Court for the Eleventh Circuit. After receiving
permission from the Eleventh Circuit, Defendant may then submit his
§ 2255 petition to this Court. Until Defendant follows these
procedures, this Court lacks jurisdiction to rule on any § 2255
petition from Defendant.
